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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


   MICHAEL PATRICK SIANO,TM                          Civil Action No. 3:20-cv-12827-MAS-DEA

                  Plaintiff Corporate Entity,
   v.
   M&T BANK, PARKER McCAY P.A. LAW
   OFFICES et al. and all Unknown Parties.                  NOTICE OF APPEARANCE
                  Defendants.

               NOTICE OF APPEARANCE AND REQUEST FOR NOTICE

SIRS:

       PLEASE TAKE NOTICE that the undersigned counsel hereby enters its appearance in this
matter on behalf of defendant, Parker McCay, P.A., improperly pleaded as Parker McCay P.A.
Law Offices.

     The undersigned counsel hereby requests that all notices filed in this matter be served upon
Andrew C. Sayles at the address indicated above and, as appropriate, by electronic filing.

                                                CONNELL FOLEY LLP
                                                Attorneys for Defendant, Parker McCay, P.A.


                                                By: s/ Andrew C. Sayles
                                                       Andrew C. Sayles
Dated: November 25, 2020




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